Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 1 of 12          PageID #: 4148




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA               )
                                        )
              v.                        )      1:12-cr-00160-JAW
                                        )
 MALCOLM A. FRENCH, et al.              )


  ORDER ON DEFENDANTS’ MOTION TO PROHIBIT THE APPLICATION
   OF SCHEDULE I OF THE CONTROLLED SUBSTANCES ACT TO THE
              SENTENCING OF THE DEFENDANTS

       The Defendants in this marijuana manufacturing and distribution case seek

 to re-litigate an argument defendants have already won.           Claiming that the

 congressional determination that marijuana is a schedule I drug is irrational and

 arbitrary when applied to their sentencings, the Defendants urge the Court to allow

 them to present evidence that the schedule I classification in the Controlled

 Substances Act (CSA) should be struck down as unconstitutional. Because in United

 States v. Booker, 543 U.S. 220 (2005), the United States Supreme Court ruled that

 the United States Sentencing Guidelines (U.S.S.G.) are advisory and because in

 Kimbrough v. United States, 552 U.S. 85 (2007), the Supreme Court ruled that a

 sentencing judge may impose a sentence based on a policy disagreement with the

 Guidelines, the Defendants are free to present evidence and argue at sentencing that

 the statutory classification of marijuana as expressed in the Guidelines is unwise and

 punitive and that their marijuana-based crimes merit leniency. As the Defendants

 already have the right to ask for leniency due to what they contend is a
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 2 of 12                    PageID #: 4149




 misclassification of marijuana, the Court does not reach whether the United States

 and Maine Constitutions would accord the Defendants a right they already have.

 I.     BACKGROUND

        On September 14, 2012, a federal grand jury indicted Kendall Chase, Malcolm

 French, Haynes Timberland, Inc. and Rodney Russell for a set of federal crimes.

 Indictment (ECF No. 2). On November 13, 2013, a grand jury issued a superseding

 indictment against Kendall Chase for conspiracy to manufacture 1,000 or more

 marijuana plants, manufacturing 1,000 or more marijuana plants, and conspiracy to

 distribute and possess with the intent to distribute marijuana.                    Superseding

 Indictment (ECF No. 187). The grand jury also indicted Mr. Russell for conspiracy to

 manufacture 1,000 or more marijuana plants, manufacturing 1,000 or more

 marijuana plants, maintaining a drug-involved place, harboring illegal aliens, and

 conspiracy to distribute and possess with the intent to distribute marijuana. Id. In

 addition, the grand jury indicted Malcolm French for conspiracy to manufacture 1,000

 or more marijuana plants, manufacturing 1,000 or more marijuana plants, managing

 and controlling a drug-involved place, harboring illegal aliens, and conspiracy to

 distribute and possess with the intent to distribute marijuana. Id. Finally, the grand

 jury also indicted Haynes Timberland, Inc. for managing and controlling a drug-

 involved place.1 Id.

        The case went to trial from January 8, 2014 through January 24, 2014. On

 January 24, 2014, the jury returned verdicts finding Malcolm French, Rodney


 1       Haynes Timberland, Inc. was a business entity owned in part by Malcolm French. Partial Tr.
 of Proceedings 106:12-15 (ECF No. 362).

                                                 2
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 3 of 12           PageID #: 4150




 Russell, and Kendall Chase guilty of engaging in a conspiracy to manufacture

 marijuana, finding Malcolm French and Rodney Russell guilty of manufacturing

 marijuana, finding Malcolm French, Rodney Russell, and Haynes Timberland, Inc.

 guilty of managing or controlling a drug-involved premises, finding Malcolm French

 and Rodney Russell guilty of harboring illegal aliens, and finding Malcolm French,

 Rodney Russell, and Kendall Chase guilty of engaging in a conspiracy to distribute

 marijuana. Jury Verdict Form (ECF No. 311). The jury expressly found that the

 number of marijuana plants involved in the conspiracy count and the manufacturing

 count for Mr. French and Mr. Russell was 1,000 or more. Id. It made no such finding

 as to Mr. Chase.

       On March 12, 2015, Mr. Russell, Mr. French, and Mr. Chase filed a single

 motion to prohibit the application of schedule I of the CSA to their upcoming

 sentencing. Defs.’ Mot. to Prohibit the Appl. of Schedule I of the Controlled Substance

 Act to the Sentencing of the Defs. (ECF No. 483) (Defs.’ Mot.). Haynes Timberland,

 Inc. joined the Defendants’ motion on March 16, 2015. Def. Haynes Timberland, Inc.’s

 Joinder in Def. Chase’s Mot. to Prohibit Appl. of Schedule I of the Controlled

 Substances Act to the Sentencing of the Defs. (ECF No. 485). Also on March 16, 2015,

 the Government filed its response in opposition. Gov’t’s Objection to the Defs.’ Mot. to

 Prohibit Appl. of Schedule I of the Controlled Substances Act to the Sentencing of the

 Defs. (ECF No. 484) (Gov’t’s Opp’n). Mr. French replied on March 24, 2015. Def.

 Malcolm French’s Reply to Gov’t’s Objection to Defs.’ Mot. to Prohibit the Appl. of

 Schedule I of the Controlled Substances Act to the Sentencing of the Defs. (ECF No.



                                            3
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 4 of 12           PageID #: 4151




 491) (French Reply). Likewise, Mr. Chase replied on April 13, 2015. Def. Chase’s

 Reply to the Gov’t’s Resp. Regarding the Schedule I Challenge (ECF No. 495) (Chase

 Reply). Finally, on April 20, 2015, the Government submitted a letter to the Court in

 further support of its opposition, including a copy of a recent order from the United

 States District Court for the Eastern District of California. Letter from the Gov’t to

 the United States Dist. Ct. (ECF No. 497).

 II.   THE PARTIES’ POSITIONS

       A.     Defendants’ Motion

       Defendants argue that while marijuana is classified as a schedule I drug under

 the CSA, schedule I should not apply to them during their upcoming sentencing

 because marijuana is “a plant that has been accepted as having medical use in 23

 states and the District of Columbia and completely legalized in 3 states,” and if

 applied to them, would violate their constitutional rights.         Defs.’ Mot. at 1.

 Specifically, they contend that “the continued inclusion of marijuana in Schedule I . .

 . and the criminal consequences of this inclusion violate the Equal Protection Clause.”

 Id. at 3-16 (punctuation altered). Defendants request not only that the Court apply

 strict scrutiny in evaluating the law (and find that the law fails this heightened

 standard), but also that it “dismiss the indictment in this case.” Id. at 5-6. In the

 alternative, they argue that the law does not even satisfy the lowest level of scrutiny

 under rational basis review. Id. at 6-15.

       Regardless of the level of scrutiny applied by the Court, Defendants also

 request an evidentiary hearing based on the following:



                                              4
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 5 of 12                          PageID #: 4152




         An evidentiary hearing is necessary to determine the question of
         whether the CSA survives this Court’s equal protection scrutiny in this
         case because there is a factually material difference between the
         Government’s position under the CSA that marijuana ought to be
         classified under Schedule I and the data provided with this Motion about
         the medical benefits of marijuana, which increases daily as Congress
         and the DOJ permits states to enact medical marijuana laws without
         repercussions. Defendants request that this evidentiary hearing be held
         as part of the sentencing hearing in this matter.2

 Id. at 15.

         Defendants also contend that “equal sovereignty of states is being violated.”

 Id. at 16 (punctuation altered) (citing Shelby Cnty., Ala. v. Holder, 133 S. Ct. 2612

 (2013)). Said another way, Defendants claim that “[t]he disparate prosecution of

 crimes based on violations of the CSA’s scheduling of marijuana as a Schedule I drug

 violates” this equal sovereignty principle. Id. at 17 (citing memoranda issued by the

 Deputy Attorney General advising prosecutorial discretion relating to marijuana).

 Finally, they assert that the “DEA’s interpretive ruling that marijuana lacks

 ‘currently accepted medial uses’ is a violation of the doctrine of separation of powers.”

 Id. at 18.

         B.      Government’s Opposition

         The Government argues that the Court should not address the merits of the

 Defendants’ motion given the “late stage of the proceedings.”3 Gov’t’s Opp’n at 1.


 2       In support of their motion, Defendants attached (1) a copy of an affidavit filed by Dr. Philip A.
 Denney in a 2011 case in the Eastern District of California (discussing the benefits of medical
 marijuana), (2) a memorandum issued by former Deputy Attorney General David W. Ogden to select
 United States Attorneys in 2009 (guidance on federal prosecutions of medical marijuana users), (3) a
 copy of the text of the Consolidated and Further Continuing Appropriations Act, 2015, and (4) a
 memorandum issued by former Deputy Attorney General James M. Cole to all United States attorneys
 in 2013 (guidance regarding marijuana enforcement). Defs.’ Mot. Attachs. 1-4.
 3       The Government noted that if the Court chose to address the merits of the Defendants’ motion,
 it requested four weeks to “file a more thorough response.” Gov’t’s Opp’n at 3-4. Given that the Court

                                                    5
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 6 of 12                    PageID #: 4153




 That is, according to the Government, “while the superseding indictment alleged

 several offenses involving the Schedule I controlled substance marijuana, the

 defendants elected not to file a motion to dismiss or a motion to arrest judgment and

 the time to do so has long since passed.” Id. at 2 (citing FED. R. CRIM. P. 12(b)(3)(B),

 34).

        Addressing the Defendants’ constitutional arguments, the Government says

 that “[i]n the forty-five year history of the CSA, each argument has been rejected.”

 Id. (citing various caselaw in the context of denials of motions to dismiss). As regards

 the Defendants’ request for an evidentiary hearing, the Government objects to their

 request as, in its view, “[t]he issue is irrelevant to the imposition of sentence.” Id. at

 3.

        C.      Mr. French’s Reply

        Mr. French replies that “there is nothing improper about considering these

 constitutional issues at the sentencing stage of the proceedings in this case.” French

 Reply at 1. Mr. French asserts that “[t]he Controlled Substances Act is expressly

 referenced in the very sentencing provision mentioned in the Government’s Objection

 Motion and the very heart of Defendants’ Motion makes clear that treating marijuana

 as a Schedule I controlled substance for sentencing purposes lacks any rational

 basis.” Id. at 1-2. Mr. French claims that “treating marijuana as a Schedule I

 substance under the Controlled Substances Act . . . is the basis for the strict

 sentencing provisions Defendants seek to prohibit.” Id. at 2. In addition, he counters


 has ruled in favor of the Government based on the filings and evidence before it, a “more thorough
 response” is unnecessary. See Section III, infra.

                                                 6
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 7 of 12             PageID #: 4154




 that “Defendants are not asking this Court to consider a fruitless issue that has been

 addressed and denied by multiple courts, but instead are raising new issues about

 the continued irrational treatment of marijuana as a schedule I substance in light of”

 medical evidence and the Government’s position on medical marijuana.                 Id.

 (emphasis in original).

        D.    Mr. Chase’s Reply

        On behalf of all the Defendants, Mr. Chase clarified that they do not seek the

 remedies associated with a motion to dismiss or a motion in arrest of judgment, but

 rather, their argument is that they “should not be penalized under a sentencing

 framework which is unconstitutionally unsound.” Chase Reply at 1-2. He also cites

 caselaw for the proposition that “there seems to be no recognized time constraints on

 raising the issue of an unconstitutional sentencing scheme.” Id. at 4. In sum, Mr.

 Chase explains they are asking the Court “to prohibit application of Schedule I and

 with it the use of Schedule I to determine the base offense levels.” Id.

 III.   DISCUSSION

        A.    The Defendants’ Requested Relief

        In their original motion, the Defendants demanded that the Court “dismiss the

 indictment in this case.” Defs.’ Mot. at 6. However, in response to the Government’s

 contention that the time for filing a motion to dismiss had long since passed, the

 Defendants clarified that they are not seeking dismissal of the indictment nor an

 arrest of judgment. In his reply, Mr. Chase states that “[t]he defendants seek neither

 of these remedies.” Chase Reply at 2. Instead, the Defendants ask the Court “not to



                                           7
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 8 of 12              PageID #: 4155




 sentence the defendants using Schedule I as its guidepost for application of the

 United States Sentencing Guideline.” Id.

       B.      The Defendants’ Requested Relief and the Statutes

       The Defendants’ narrowing of their claim has two practical effects. First, Mr.

 French and Mr. Russell face a ten-year mandatory minimum term of incarceration

 and a maximum term of life. The statutory provisions for the marijuana-based crimes

 for which Mr. French and Mr. Russell were convicted, namely, violations of 21 U.S.C.

 §§ 841(a)(1) and 846, engaging in a conspiracy to manufacture 1,000 or more

 marijuana plants and manufacturing 1,000 or more marijuana plants, remain

 unchallenged, and therefore, the statutory penalty for Mr. French and Mr. Russell

 for these crimes is a ten-year minimum term of incarceration and up to life

 imprisonment. 21 U.S.C. § 841(b)(1)(A)(vii) (“[A]ny person who violates subsection

 (a) of this section shall be sentenced as follows: In the case of a violation of subsection

 (a) of this section involving—1000 kilograms or more of a mixture or substance

 containing a detectable amount of marihuana, or 1000 or more marihuana plants

 regardless of weight . . . such person shall be sentenced to a term of imprisonment

 which may not be less than 10 years or more than life”). As the jury determined that

 Mr. Chase was involved in a conspiracy that involved 1,000 or more marijuana plants

 but did not find that he was individually responsible for a particular number of

 plants, it is an open question whether he is subject to a maximum term of life under

 § 841(b)(1)(A) or a twenty-year maximum under § 841(b)(1)(C). See United States v.

 Razo, No. 13-2176, 2015 WL 1455076 (1st Cir. Apr. 1, 2015). As the Presentence



                                             8
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 9 of 12            PageID #: 4156




 Report in Mr. Chase’s case lists a twenty-year maximum and there was no objection

 from the Government, the Court assumes for purposes of this opinion that Mr. Chase

 faces a twenty-year maximum and no minimum under § 841(b)(1)(C).

       C.     The Defendants’ Requested Relief and the Guidelines

       The second practical effect is that it obviates the Defendants’ constitutional

 claims. The Guidelines explain the relationship between statutory provisions and

 the drug quantity tables. In application note 8 of U.S.S.G. § 2D1.1, the Sentencing

 Commission wrote that it “has used the sentences provided in, and equivalences

 derived from, the statute (21 U.S.C. § 841(b)(1)), as the primary basis for the guideline

 sentences.” U.S.S.G. § 2D1.1 n.8(A). The Commission further explained that “[t]he

 base offense levels in § 2D1.1 are either provided directly by the Anti-Drug Abuse Act

 of 1986 or are proportional to the levels established by statute.” Id. Background. The

 Commission stated that “Levels 30 and 24 in the Drug Quantity Table are the

 distinctions provided by the Ant-Drug Abuse Act; however, further refinement of drug

 amounts is essential to provide a logical sentencing structure for drug offenses.” Id.

       Thus, the five-year and ten-year mandatory statutory minimums correspond

 to base offense levels 24 and 30 respectively; however, the Commission noted that

 “level 30 ranges from 97 to 121 months, where the statutory minimum term is ten

 years or 120 months.” Id. In other words, in fixing the base offense level of 30

 (Guideline range of 97 to 121 months for a criminal history category I) for 1,000

 kilograms of marijuana, the Commission placed into effect the dictates of §

 841(b)(1)(A)(vii), which requires a ten-year mandatory minimum for 1,000 kilograms



                                            9
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 10 of 12              PageID #: 4157




 of marijuana. Similarly, the base offense level of 24 (Guideline range of 51 to 63

 months for a criminal history category I) for 100 but less than 400 kilograms of

 marijuana, the Commission placed into effect the dictates of § 841(b)(1)(B)(vii), which

 imposes a mandatory five-year minimum for 100 kilograms of marijuana.

        For schedule I substances like marijuana, Congress did not expressly reference

 the drug’s schedule classification in fixing the statutory penalties. Compare 21 U.S.C.

 § 812(c) (schedule I listed drugs), with id. § 841(b)(1)(A)(i)-(viii). But the statute

 expressly mentions the drug schedule in addressing other penalties. See, e.g., id. §

 841(b)(1)(C) (“In the case of a controlled substance in schedule I or II . . . .”); id. §

 841(b)(1)(E)(i) (“[I]n the case of any controlled substance in schedule III . . . .”); id. §

 841(b)(1)(E)(2) (“In the case of a controlled substance in schedule IV . . . .”).

 Accordingly, the Court accepts that the Defendants are correct in asserting that the

 congressional determination that marijuana is a schedule I drug has had a direct

 impact on the base offense level calculations in their cases.

        D.     The Constitutional Argument, the Sentence and Kimbrough

        Once the Defendants declined to wage a frontal assault against the

 constitutionality of the statute itself, their argument—namely, that in determining

 their sentences, the Court should take into account their contention that the

 Guidelines treat marijuana too harshly in light of recent developments in this

 country—has already been decided in their favor, albeit with crack cocaine, not

 marijuana. In 2005, in the seminal case of United States v. Booker, the United States

 Supreme Court instructed the district courts to read the Guidelines as “effectively



                                             10
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 11 of 12           PageID #: 4158




 advisory.” 543 U.S. at 245. Following Booker, in Kimbrough v. United States, the

 United States Supreme Court ruled that a district judge has the authority to “impose

 a non-Guidelines sentence based on a disagreement with the [Sentencing]

 Commission’s views.” Pepper v. United States, 131 S. Ct. 1229, 1247 (2011) (citing

 Kimbrough, 552 U.S. at 109-10). As the First Circuit has said, “post-Booker, a judge

 may vary from the [Guideline sentence range], disagreeing with details or even major

 premises.” United States v. Prosperi, 686 F.3d 32, 48 (1st Cir. 2012). The sentencing

 judge’s authority goes beyond the right to make “‘an individualized determination

 that [the Guidelines] yield an excessive sentence in a particular case,’” but also

 extends to the right to vary from the Guidelines “‘based on policy disagreement with

 them.’” United States v. Stone, 575 F.3d 83, 89 (1st Cir. 2009) (quoting Spears v.

 United States, 129 S. Ct. 840, 843 (2009)) (emphasis in Spears).

       Once the undoubted authority of this Court to impose a non-Guideline sentence

 based on policy disagreements with the Commission is established, it follows that the

 Defendants have the right at the time of the sentencing hearing to present their

 evidence and arguments to the Court about the unnecessary harshness of the

 marijuana base offense levels as calculated in their cases. In fact, the Court typically

 takes into account at every drug crime sentencing the type of drug that a defendant

 has been convicted of manufacturing or distributing as part of its assessment of the

 nature and circumstances of the offense under 18 U.S.C. § 3553(a)(1), which requires

 a sentencing court to consider the “nature and circumstances of the offense” along

 with other factors in imposing sentence. At the presentence conference in these cases,



                                           11
Case 1:12-cr-00160-JAW Document 501 Filed 04/28/15 Page 12 of 12        PageID #: 4159




 the Court will discuss with counsel for the Defendants and the Government the

 evidence that the Defendants and the Government may wish to present on this issue.

       As the merits of the Defendants’ positions may be addressed under current law

 without raising constitutional concerns, the Court adopts the long-held view that a

 court should avoid basing its decision on a constitutional issue if the matter may be

 otherwise resolved. Vaqueria Tres Monjitas, Inc. v. Pagan, 748 F.3d 21, 26 (1st Cir.

 2014) (explaining that in accordance with the doctrine of constitutional avoidance,

 “‘federal courts are not to reach constitutional issues where alternative grounds for

 resolution are available’”) (quoting Am. Civil Liberties Union v. United States

 Conference of Catholic Bishops, 705 F.3d 44, 52 (1st Cir. 2013)).

 IV.   CONCLUSION

       The Court DENIES Defendants’ Motion to Prohibit the Application of Schedule

 I of the Controlled Substance Act to the Sentencing of the Defendants (ECF No. 483).

       SO ORDERED.

                                        /s/ John A. Woodcock, Jr.
                                        JOHN A. WOODCOCK, JR.
                                        UNITED STATES DISTRICT JUDGE

 Dated this 28th day of April, 2015




                                           12
